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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )                     8:09CR29
       vs.                                     )
                                               )                      ORDER
DENNIS WIESE,                                  )
                                               )
                      Defendant.               )


       This matter is before the court on the defendant's motion for a 30-day extension of
time in which to file pretrial motions [23]. Upon review of the file, the court finds that a 14-
day extension should be granted.

        IT IS ORDERED that the Motion to Continue Filing Pretrial Motions [23] is granted,
in part, as follows:

       1.    The deadline for filing pretrial motions is extended to March 18, 2009.

       2.    Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between March 4, 2009 and March 18, 2009, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED 3rd day of March, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
